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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:22−cr−00323
                                                           Honorable Steven C. Seeger
Thomas Pavey, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 25, 2023:


       MINUTE entry before the Honorable Gabriel A. Fuentes as to Raheim Hamilton:
The Court was advised that the government possesses a transcript of Defendant
Hamilton's earlier detention hearing in the Eastern District of Virginia. The Court kindly
requests that the government file that transcript on the docket in this matter in advance of
the Court's hearing on Mr. Hamilton's Motion for Pretrial Release (doc. #[37]) at 1:30
p.m. on 1/27/23. Mailed notice. (lxk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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